Case 2:04-cr-20081-.]PI\/| Document 132 Filed 08/26/05 Page 1 of 2 Page|D 204

 

IN THE UNITED sTATEs DISTRICT Fn.sn Bv D_c
FOR THE WESTERN DISTRICT oF TENNESSEE `
WESTERN DIvISIoN 95 AUG 25 p 5, 00
H'DMAS M.
UNITED sTATES 0F AMERlCA, CLEH§ 113 ,Q?S?E§CTCOW
W/D sr £-.szPH£S
Plaintiff,
v. cASE No.: 04-cr-20081-1

BILLY T. PHILLIPS,

Defendant.

 

ORDER ON MO'I`ION FOR STATUS CONFERENCE

 

IT APPEARING TO THE COURT for good cause shown, that a status conference

-d .
shall be set in the above matter on the _;Q,day omeb@/ZOOS) a/+ IO '30 A'M -

ALL OF WHICH IS ORDERED, ADJUDGED AND D§CREED, this g (.V day of

65 , 2005.

w mt O&L

GE J N PHIPPS MC CALLA
.S. D RICT COURT

 

Th|s document entered on the docket eat in com |iance
with F\ule 55 and/or 32(b) FRCrP on j ’g£'£:§

 

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ENNESSEE

 

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Honorable .1 on McCalla
US DISTRICT COURT

